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APPENDIX- EXHIBITS IN SUPPORT OF MOTION (Only identifying information is attached)

P-1 = Order from January 31, 2017

P-2 63 PS. § 667.1(a)

P-3 ‘Plaintiff's written testimony for hearing.

P-4 Order from hearing February 24, 2017

P-5 ‘Plaintiff's Petition for Reinstatement

P-6 BPOA Order to Show Cause and Proposed Consent Agreement

P-7 Plaintiff's response to proposed consent agreement

P-8 Notice of Hearing for November 20, 2017

P-9 Final Order from September 15, 2017

P-10 Pennsylvania Nursing license record

P-11 NURSYS national nursing license database

P-12 Performance evaluations from last nursing job, (PSSH prior to termination)
P-13 September 27, 2017 email to counsel for defendants offering to settle

P-14 Joel Poskin vs BON. Board denied petition because there is no procedure to expunge.

Certificate of Service
I hereby certify that a true copy of the foregoing Notice of Plaintiff's Motion for Preliminary

Injunction was sent by US First Class Mail to counself for Defendants, Pennsylvania Deputy Attorney

General Michael Kennedy on this 30 Hh day of p) tthe 2017.

Naficy E. Lewen(Plaintiff, pro se
3342 West 12" Street
Erie, PA 16505

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